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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        LAJAZZ A. SMITH,
                                   7                                                       Case No. 17-cv-04562-YGR (PR)
                                                       Plaintiff,
                                   8                                                       JUDGMENT
                                                v.
                                   9
                                        SALINAS VALLEY STATE PRISON, et
                                  10    al.,
                                  11                   Defendants.

                                  12          For the reasons set forth in this Court’s Order of Dismissal Without Prejudice,
Northern District of California
 United States District Court




                                  13          IT IS ORDERED AND ADJUDGED

                                  14          That Plaintiff take nothing, that the action be dismissed in accordance with the Court’s

                                  15   Order, and that each party bear its own costs of action.

                                  16   Dated: October 20, 2017

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                                                                                        YVONNE GONZALEZ ROGERS
                                  18                                                    United States District Judge
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